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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 PAUL HAMMOND, JOHN L. JONES, and                   Case No.:
 RICK MONGER derivatively on behalf of
 ZION OIL & GAS, INC.,

                        Plaintiffs,

         v.                                         VERIFIED STOCKHOLDER
                                                    DERIVATIVE COMPLAINT
 VICTOR G. CARRILLO, MICHAEL B.
 CROSWELL, JR., JOHN M. BROWN,
 DUSTIN L. GUINN, MARTIN M. VAN
                                                    JURY TRIAL DEMANDED
 BRAUMAN, WILLIAM H. AVERY, LEE
 RUSSELL, FORREST A. GARB, KENT S.
 SIEGEL, PAUL OROIAN, JUSTIN W.
 FURNACE, GENE SCAMMAHORN, and
 RALPH F. DEVORE,

                        Defendants,

         -and-

 ZION OIL & GAS, INC.,

                        Nominal Defendant.


       Plaintiffs Paul Hammond, John L. Jones, and Rick Monger (collectively, “Plaintiffs”), by

and through their counsel, derivatively on behalf of nominal defendant Zion Oil & Gas, Inc.

(“Zion“ or the “Company”), submit this Verified Stockholder Derivative Complaint against the

Individual Defendants (defined herein) and allege the following upon information and belief,

except as to those allegations concerning Plaintiffs, which are alleged upon personal knowledge.

Plaintiffs’ information and belief is based upon, among other things, their counsels’ investigation,

which included, inter alia, review and analysis of: (i) regulatory filings made by Zion with the

U.S. Securities and Exchange Commission (“SEC”); (ii) press releases issued and disseminated by

Zion; (iii) a purported class action lawsuit filed in the United Stated District Court for the Northern
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District of Texas against Zion and defendants Victor G. Carrillo (“Carrillo”) and Michael B.

Croswell, Jr. (“Croswell”) alleging violations of the federal securities laws based on the alleged

issuance of false and misleading statements of material fact, and the alleged omission of material

facts necessary to make other issued statements not misleading, between March 12, 2018 and July

10, 2018, with respect to the whether the Company was being investigated by the SEC; and

(iv) other publicly-available information, including media and analyst reports, concerning Zion.

                                  NATURE OF THE ACTION

       1.      This is a stockholder derivative action asserting claims for breaches of fiduciary

duty, unjust enrichment, and violations of Section 14(a) of the Securities Exchange Act of 1934,

as amended (the “Exchange Act”), and SEC Rule 14a-9 promulgated thereunder, brought on behalf

of nominal defendant Zion against certain of its officers and members of the Company’s Board of

Directors (the “Board”).

       2.      Zion is a Delaware corporation with its headquarters in Dallas, Texas. The

Company was founded in 2000 for the alleged purpose of discovering oil and natural gas reserves

in Israel. Zion’s 2017 Form 10-K, filed with the SEC on March 12, 2018, declares its mission

statement as follows:

       Zion’s vision, as guided by John Brown, of finding oil and/or natural gas in Israel,
       is biblically inspired. The vision is based, in part, on biblical references alluding to
       the presence of oil and/or gas in territories within the State of Israel that were
       formerly within certain ancient biblical tribal areas.

       3.      After nearly two decades of oil exploration, the Company’s mission has been

entirely unsuccessful. Zion has drilled at least five oil holes in Israel, all of which have failed to

produce a drop of oil. Consequently, Zion has not generated a single dollar in oil revenue and its

operations have cost investors over $170 million. Zion does not have any revenues or operating




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income and the Company currently holds only one active petroleum exploration license in Israel,

which has yet to produce any oil or natural gas.

       4.      Since at least March 26, 2018, Zion has been under investigation by the SEC (the

“SEC Investigation”). From March 12, 2018 to July 11, 2018 (the “Relevant Period”), the

Individual Defendants have made and/or caused the Company to make a series of false and

misleading statements to stockholders and the investing public unambiguously denying the

existence of the SEC Investigation.

       5.      After carrying on the charade for over three months, the Individual Defendants

finally allowed the Company to admit that it was being investigated by the SEC on a Form 8-K

filed with the SEC on July 11, 2018. The Form 8-K also admitted that the Company had received

a subpoena as part of the SEC Investigation. On this news, Zion stock dropped $0.44 per share,

or 11%, to $3.56 per share on July 12, 2018, wiping out over $26 million in market capitalization.

The Company’s market capitalization has only continued to drop since Zion confirmed the ongoing

SEC Investigation, decreasing by over $160.77 million since July 11, 2018.

       6.      In addition to the gravity of the SEC Investigation itself, the alleged misstatements

and omissions have subjected the Company and defendants Carrillo and Croswell to a securities

fraud class action, captioned Peak v. Zion Oil & Gas, Inc., et al., Case No. 3:18-cv-02067, pending

in the United States District Court for the Northern District of Texas (the “Securities Class

Action”).

       7.      Additional damages to the Company include the over-compensation of the

Individual Defendants due to the misstatements described herein.

       8.      Throughout the Relevant Period, the Individual Defendants breached their fiduciary

duties by causing Zion to fail to maintain internal controls and to make materially false and/or




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misleading statements, as well as to fail to disclose material adverse facts about the Company’s

business, operations, and prospects. Specifically, the Individual Defendants caused the Company

to fail to disclose that: (1) the Individual Defendants were aware that the Company was the subject

of an SEC investigation; (2) the Company failed to maintain adequate internal controls; and (3) as

a result of the foregoing, the Company’s statements about Zion’s business, operations, and

prospects were materially false and/or misleading and/or lacked a reasonable basis.

       9.      The Individual Defendants breached their fiduciary duties of loyalty, good faith,

due care, oversight, and candor by willfully engaging in the deceptions alleged herein. In addition,

the Individual Defendants violated Section 14(a) of the Exchange Act and SEC Rule 14a-9 by

soliciting Zion stockholder votes for, inter alia, director re-election and the ratification of the

Company’s independent auditor, while simultaneously misrepresenting and/or failing to disclose

the truth regarding the SEC Investigation.

       10.     As a direct and proximate result of the Individual Defendants’ breaches of fiduciary

duties, Zion has sustained damages as described below.

                                JURISDICTION AND VENUE

       11.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because the Complaint

alleges a claim for violations of Section 14(a) of the Exchange Act and SEC Rule 14a-9. The

Court has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367(a)

because the state law claims form part of the same case or controversy. This action is not a

collusive action designed to confer jurisdiction on a Court of the United States that it would not

otherwise have.

       12.     This Court has jurisdiction over each defendant because they reside in this District

or have sufficient minimum contacts with this District to render the exercise of jurisdiction by the

Court permissible under traditional notions of fair play and substantial justice. The Court has


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personal jurisdiction over nominal defendant Zion because it is authorized to do business in this

state, has consented to service in this state, and is incorporated in this District.

        13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because one or more

of the defendants either resides in or maintains offices in this District, a substantial portion of the

transactions and wrongs complained of herein, including defendants’ primary participation in the

wrongful acts detailed herein and violation of fiduciary duties owed to Zion occurred in this

District, and defendants have received substantial compensation in this District by doing business

here and engaging in numerous activities that had an effect in this District.

                                              PARTIES

        14.     Plaintiffs are stockholders of Zion, were stockholders of Zion at the time of the

wrongdoing alleged herein, and have been stockholders of Zion continuously since that time.

        15.     Nominal defendant Zion is a Delaware corporation with its principal executive

offices located at 12655 North Central Expressway, Suite 1000, Dallas, Texas 75243. Zion’s

common stock trades on the NASDAQ Global Market under the ticker symbol “ZN.”

        16.     Defendant Carrillo was Zion’s Chief Executive Officer (“CEO”) from June 15,

2015 to September 1, 2018. He was a member of the Board from September 2010 to September

1, 2018. He received $448,542 in total compensation from the Company in 2017, up to $198,542

of which may have been incentive based. Upon his resignation, Carrillo addressed employees:

        I believe that God led me to Zion and that it was a part of my mission to help guide
        the company to drill this key, deep well. That goal having now been accomplished,
        it is time for me to move on to pursue other personal interests, effective September
        1, 2018.

        17.     Defendant Croswell has been the Company’s Chief Financial Officer (“CFO”)

since August 2016 and a member of the Board since May 2017. He received $264,749 in total

compensation from the Company, up to $214,749 of which may have been incentive based.




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       18.     Defendant John M. Brown (“Brown”) founded the Company in 2000 and has been

the Chairman of the Board since inception. After the Company’s founding, Brown served as CEO

until September 2004 and as President until October 2001. In January 2010, Brown was appointed

Executive Chairman, and in October 2012, Brown was appointed as the Interim Chief Executive

Officer (“CEO”). On January 1, 2014, Brown was appointed as CEO but stepped down from that

role effective June 15, 2015. It was Brown’s “vision” to drill for oil in certain areas of Israel based

on bible passages. He owns 1.9% of the Company’s common stock and received $632,419 in total

compensation from the Company in 2017, up to $383,419 of which may have been incentive based.

       19.     Defendant Dustin L. Guinn (“Guinn”) has been Zion’s Executive Vice Chairman

since July 2016, President and Chief Operating Officer (“COO”) since September 2016, and CEO

since August 31, 2018. After it was announced that Guinn would be CEO, defendant Brown sent

an email to the Company’s employees stating, “God has chosen Zion’s New CEO.” Guinn has

also been a member of the Board since May 2015. Guinn received $465,647 in total compensation

from the Company in 2017, up to $215,647 of which may have been incentive based.

       20.     Defendant Martin M. van Brauman (“van Brauman”) has been a member of the

Board since April 2014. He has also been Zion’s Corporate Secretary and Treasurer since January

2012 and a Senior Vice President since June 2013. van Brauman received $391,375 in total

compensation in 2017, up to $373,375 of which may have been incentive based.

       21.     Defendant William H. Avery (“Avery”) has been a member of the Board since

September 2013 and has also been Zion’s General Counsel on a part time basis under an

independent consulting contract since December 2012.               He received $323,687 in total

compensation in 2017, up to $304,687 of which may have been incentive based.




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       22.    Defendant Lee Russell (“Russell”) has been a member of the Board since May 2017

and has been an independent Geoscience Consultant for Zion since August 2012. He received

$253,638 in total compensation in 2017, up to $241,638 of which may have been incentive based.

       23.    Defendant Forrest A. Garb (“Garb”) has been a member of the Board since

November 2005 and is Chairman of the Compensation Committee.

       24.    Defendant Kent S. Siegel (“Siegel”) has been a member of the Board since January

2013 and is a member of the Audit Committee and Compensation Committee.

       25.    Defendant Paul Oroian (“Oroian”) has been a member of the Board since since

November 2003. He is also Chairman of the Audit Committee and a member of the Nominating

and Corporate Governance Committee.

       26.    Defendant Justin W. Furnace (“Furnace”) was a member of the Board from April

2012 until his resignation on August 13, 2018. Furnace previously served as Chairman of the

Nominating and Corporate Governance Committee and was a member of the Compensation

Committee.

       27.    Defendant Gene Scammahorn (“Scammahorn”) has been a member of the Board

since October 2012 and is a member of the Nominating and Corporate Governance Committee

and Audit Committee.

       28.    Defendant Ralph F. DeVore (“DeVore”) was a member of the Board from April

2018 to June 2018.

       29.    Defendants Carrillo, Croswell, Brown, Guinn, van Brauman, Avery, Russell, Garb,

Siegel, Oroian, Furnace, Scammahorn, and DeVore are collectively referred to herein as the

“Individual Defendants.”




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                       DUTIES OF THE INDIVIDUAL DEFENDANTS

       30.     By reason of their positions as officers and/or directors of Zion and because of their

ability to control the business and corporate affairs of the Company, the Individual Defendants

owed and owe the Company and its stockholders the fiduciary obligations of good faith, loyalty,

and candor and were and are required to use their utmost ability to control and manage the

Company in a fair, just, honest, and equitable manner. The Individual Defendants were and are

required to act in furtherance of the best interests of the Company and its stockholders so as to

benefit all stockholders equally and not in furtherance of their personal interest or benefit. Each

director and officer of the Company owes to the Company and its stockholders the fiduciary duty

to exercise good faith and diligence in the administration of the affairs of the Company and in the

use and preservation of its property and assets, and the highest obligations of fair dealing.

       31.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of the Company, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein.

       32.     To discharge their duties, the officers and directors of the Company were required

to exercise reasonable and prudent supervision over the management, policies, practices, and

controls of the Company. By virtue of such duties, the officers and directors of Zion were required

to, among other things:

               a.      Ensure that the Company complied with its legal obligations and

requirements, including acting only within the scope of its legal authority and disseminating

truthful and accurate statements to the SEC and the investing public;

               b.      Conduct the affairs of the Company in a lawful, efficient, business-like

manner so as to make it possible to provide the highest quality performance of its business, to

avoid wasting the Company’s assets, and to maximize the value of the Company’s stock;


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                c.       Properly and accurately guide investors and analysts as to the true financial

condition of the Company at any given time, including making accurate statements about the

Company’s financial results and prospects, and ensuring that the Company maintained an adequate

system of financial controls such that the Company’s financial reporting would be true and

accurate at all times;

                d.       Remain informed as to how the Company conducted its operations, and,

upon receipt of notice or information of imprudent or unsound conditions or practices, make

reasonable inquiry in connection therewith, and take steps to correct such conditions or practices

and make such disclosures as necessary to comply with federal and state securities laws; and

                e.       Ensure that the Company was operated in a diligent, honest, and prudent

manner in compliance with all applicable federal, state, and local laws, rules, and regulations.

        33.     Each of the Individual Defendants, as a director and/or officer, owed to the

Company and its stockholders the fiduciary duties of loyalty, good faith, and candor in the

management and administration of the affairs of the Company, as well as in the use and

preservation of its property and assets. The conduct of the Individual Defendants complained of

herein involves a knowing and culpable violation of their obligations as directors and officers of

the Company, the absence of good faith on their part, and a conscious disregard for their duties to

the Company and its stockholders that the Individual Defendants were aware or should have been

aware posed a risk of serious injury to the Company.

        34.     The Company has also adopted a Code of Business Conduct and Ethics for

Directors, Officers and Employees (the “Code”). The Code states that:

        The Company requires its directors, officers and employees to observe the highest
        standards of business and personal ethics in the discharge of their assigned
        responsibilities. They must behave honestly and with integrity at all times,
        including in dealings with co-workers, the public, the business community,



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    stockholders, customers, suppliers and governmental and regulatory authorities.
    They must comply with all applicable legal requirements, avoid any questionable
    relationships with persons or firms with whom the Company transacts or is likely
    to transact business, avoid disclosure to others of confidential information obtained
    in the course of their employment by the Company, and avoid situations which may
    place them in a conflict of interest situation to the possible detriment of themselves
    and/or the Company.

    35.    The Code sets forth the Audit Committee’s responsibilities as follows:

    The Audit Committee is responsible for monitoring compliance with the Code and
    for serving as a resource to directors, officers and employees by providing
    information and guidance regarding issues of compliance and ethical conduct. The
    Chairman of the Audit Committee is the Code Administrator and is the appropriate
    person for the reporting of violations of the Code of Business Conduct and Ethics.

    Directors, officers and employees should feel free to discuss questions and issues
    arising under the Code or otherwise raising ethical or legal compliance concerns
    with the Audit Committee.

    36.    The Code also requires the following with regard to public reporting:

    The Company requires honest and accurate recording and reporting of information
    in order to make responsible business decisions and to meet its obligations to make
    full, fair, timely, accurate and understandable disclosure in the reports that it files
    with the U.S. Securities and Exchange Commission (the “SEC”) and in other public
    communications.

                                      *       *       *

    It is the Company’s policy that the reports it files with the SEC and all other public
    communications will be full, fair, accurate, timely and understandable. The
    Company expects all personnel to take this responsibility very seriously, to provide
    prompt and accurate answers to inquiries related to the Company’s public
    disclosure requirements, and to bring to the attention of their supervisors (a) any
    material information of which they become aware that affects the disclosures made
    by the Company and (b) any information they may have concerning significant
    deficiencies in the design or operation of the Company’s internal controls which
    could adversely affect the Company’s ability to record, process, summarize and
    report financial data.

    Depending upon their positions with the Company, certain individuals may be
    called upon to assure that the Company’s filings are complete, fair and
    understandable. To this end, such individuals shall:




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    •     Comply, and, to the extent applicable, cause those under their supervision to
          comply, fully at all times with the Company’s disclosure controls and
          procedures; and

    •     Ensure that all reports and disclosures they prepare or review, in whole or in
          part, are true and correct in all material respects and do not contain any untrue
          statement of a material fact or omit to state a material fact necessary to make
          the statements made, in light of the circumstances under which they were made,
          not misleading.

    37.      With regard to compliance with the law, the Code states:

    Obeying the law, both in letter and in spirit, is paramount to the conduct of the
    Company’s business. Directors, officers and employees must comply, and, to the
    extent applicable, ensure that employees under their supervision comply, with the
    laws, rules and regulations of each city, state and country in which the Company
    does business.

    While the Company does not expect that all personnel will know the details of all
    of these laws, it requires that they have a general understanding of the laws
    applicable to their specific job responsibilities so as to enable them to determine
    when to seek advice from supervisors, managers or other appropriate individuals.

    To ensure that the Company’s operations are conducted in compliance with all
    applicable governmental regulations, directors, officers and employees must avoid
    activities that could involve or lead to involvement of the Company or its personnel
    in any unlawful practice.

    For example, among other things, they must not, and, to the extent applicable, must
    not permit the employees under their supervision to:

    •     Take any unlawful or improper actions on the Company’s behalf (e.g., engage
          in conduct that is intended to mislead, manipulate or take unfair advantage of a
          collaborator or agree with representatives of competing companies to engage in
          price fixing or other illegal activities);

    •     Use the assets of the Company for any unlawful or improper purpose; or

    •     Directly or indirectly promise, offer or make payment in money or anything of
          value to anyone, including a government official, agent or employee of a
          government, political party, labor organization or business entity or a candidate
          of a political party, with the intent to induce favorable business treatment or to
          improperly affect business or government decisions.




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       38.     With regard to the Board and its various committees’ duties, the Company’s

definitive proxy statement filed on Form DEF 14A with the SEC on April 13, 2018 (the “2018

Proxy”) notes the following:

       Management is responsible for the day-to-day management of risks the Company
       faces, while the Board of Directors, as a whole and through its committees, has the
       ultimate responsibility for the oversight of risk management. Senior officers attend
       meetings of the Board, provide presentations on operations including significant
       risks, and are available to address any questions or concerns raised by the Board.
       Additionally, our three Board committees assist the Board in fulfilling its oversight
       responsibilities in certain areas of risk. Pursuant to its charter, the Audit Committee
       coordinates the Boards’ oversight of the Company’s internal control over financial
       reporting, disclosure controls and procedures and code of conduct. Management
       regularly reports to the Audit Committee on these areas. The Compensation
       Committee assists the Board in fulfilling its oversight responsibilities with respect
       to the management of risks arising from our compensation policies and programs.
       The Nominating and Corporate Governance Committee assists the Board in
       fulfilling its oversight responsibilities with respect to the management of risks
       associated with Board organization, membership and structure, succession planning
       for our directors and corporate governance. When any committees receives a report
       related to material risk oversight, the Chairman of the relevant committee reports
       on the discussion to the full Board.

       39.     The Individual Defendants failed to maintain the standards laid out by the law and

the Company itself, resulting in the breaches of fiduciary duty and the violations of Section 14(a)

and Rule 14a-9 described herein.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       40.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the truth and further aided and abetted and assisted each other in

breaching their respective duties.

       41.     The purpose and effect of the conspiracy, common enterprise, and common course

of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’




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violations of law, including breaches of fiduciary duty and violations of Sections 14(a) of the

Exchange Act and Rule 14a-9; (ii) conceal adverse information concerning the Company’s

operations, financial condition, future business prospects, and internal controls; and (iii) to

artificially inflate the Company’s stock price.

       42.     The Individual Defendants accomplished their conspiracy, common enterprise, and

common course of conduct by causing the Company purposefully, or recklessly, to conceal

material facts, fail to correct such misrepresentations, and violate applicable laws. The actions

described herein occurred under the authority of the Board, thus each of the Individual Defendants

who are directors of Zion was a direct, necessary, and substantial participant in the conspiracy,

common enterprise, and common course of conduct complained of herein.

       43.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of wrongdoing, each of the Individual Defendants acted with actual or constructive

knowledge of the primary wrongdoing, substantially assisted in the accomplishment of that

wrongdoing, and was or should have been aware of his overall contribution to and furtherance of

the wrongdoing.

       44.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Zion and was at all times acting within the course

and scope of such agency.

                               SUBSTANTIVE ALLEGATIONS

A.     Background

       45.     Zion was founded in 2000 by defendant Brown in accordance with his vision to

support the political and economic independence of Israel by providing the country with oil and

gas. The Company’s website spells out Brown’s vision (the “Vision”), as follows:


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       The Vision and the Calling

       From John Brown, Zion Oil & Gas, Inc., Founder & Chairman

       When first visiting Israel in 1983, I believe that God gave me a scripture (1 Kings
       8:41-43), a vision (Oil for Israel) and, as a Christian Zionist and New Covenant
       believer (Isaiah 65:1), the calling to render assistance to the Jewish people and
       Nation of Israel, and to aid them in the Restoration of the Land by providing the oil
       and gas necessary to help the People of Israel maintain their political and economic
       independence (Leviticus 19:33,34 & Exodus 6:6-8).

       In the Bible, God sovereignly declares that Israel is His chosen people (Exodus
       4:22); and we can gain some understanding of God’s choice, His vision and purpose
       by reading Deuteronomy 7.

       As a Christian Zionist, I declare, “. . . thy people shall be my people, and thy God
       my God” (Ruth 1:16). And I believe that, as true Christians, we must all so identify
       with Israel, as we are all part of the “wild olive branch” grafted onto the olive tree
       by the grace of God (Romans 11).

       But as the Bible declares, God has not forsaken His covenant people (Jeremiah
       31:31-40); and, as new covenant believers we are commanded by God in the Bible
       to stand together with the Jewish people whom the world has abused.

       Fulfillment of prophecy is for the Jewish people – for them is the realization of their
       covenant and for them is the answer to their prayers of countless generations:

       “And I will plant them upon their land, and they shall no more be pulled up out of
       their land which I have given them, saith the Lord thy God.” (Amos 9:14-15).

(Emphasis in original).

       46.     Brown’s Vision is also illustrated on the Company website with the following map:




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       47.     The Company’s operations carried out pursuant to Brown’s Vision have been a

complete failure. Zion has conducted oil and gas exploration in Israel for over eighteen years

without discovering any oil or gas reserves. Consequently, the Company has not earned any

revenue from its oil and gas operations, which have cost its investors over $170 million.

       48.     In addition to its substandard business plan and failure to generate a single penny

of revenue in an eighteen-year period, Zion’s officers and directors have demonstrated

questionable business judgement with respect to the businesses with which the Company has

partnered.

       49.     Zion’s drilling partner in Israel is an Israeli subsidiary of the Romanian Company,

Dafora Meidas SA (“Dafora”). Dafora has experienced a number of issues over the past two years.



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For example, in 2015, Dafora paid nearly one million euros to the Romanian government in

connection with its involvement in a bid-rigging scheme and soon after its trading was suspended

on June 19, 2015 when the company filed for bankruptcy after failing to pay off its substantial

debt. Dafora’s trading remained suspended until September 25, 2017.

       50.     Zion’s   auditor   throughout    the   Relevant    Period,   MaloneBailey     LLP

(“MaloneBailey”), is a little-known accounting firm that was previously subject to a cease and

desist order by the SEC for violations of applicable professional standards constituting improper

professional conduct in connection with its audit of a religious-themed videogame company that

was engaged in a series of circular sham transactions. MaloneBailey resigned as Zion’s auditor

on October 3, 2018, and was replaced by RBSM LLP, an accounting firm that has been previously

criticized by the Public Company Accounting Oversight Board for producing deficient audits.

       51.     The Individual Defendants have also caused the Company to maintain inadequate

internal controls. These failures have subjected the Company to the SEC Investigation and caused

the Company to issue misstatements concealing the SEC Investigation.

B.     The Individual Defendants Publicly Deny the SEC Investigation

       52.     On March 26, 2018, Twitter user @FuzzyPandaShort (“Fuzzy Panda”) tweeted:

“$ZN – Zion has an Undisclosed SEC Investigation. Records are being withheld that could be

used for law enforcement purposes.” Fuzzy Panda also attached an excerpt from a purported letter

from the SEC replying to a Freedom of Information Act (“FOIA”) request for “all documents in

possession of SEC that pertain to investigations regarding Zion Oil & Gas (ZN) for the time period

January 1, 2017 through March 1, 2018.” The letter also noted that the SEC was “withholding

records that may be responsive to your request under 5 U.S.C. § 552(b)(7)(A), 17 CFR

§ 200.80(b)(7)(i). This exemption protects from disclosure records compiled for law enforcement

purposes, the release of which could reasonably be expected to interfere with enforcement


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activities.” The letter also stated that “[i]t is the general policy of the [SEC] to conduct its

investigations on a non-public basis.”

       53.     Fuzzy Panda’s tweet also included the following image of the letter:




C.     The Individual Defendants Cause Zion to Issue a Series of Materially False and
       Misleading Statements

       54.     The day after Fuzzy Panda’s tweet, on March 27, 2018, the Individual Defendants

caused Zion’s corporate Twitter account – @zionoil – to tweet a reply to Fuzzy Panda that stated,




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“There is no SEC investigation. Merely indicators of a routine FINRA questionnaire that’s

standard after a steep rise of our stock recently.”

       55.     Fuzzy Panda responded with the following question for Zion:




       56.     Rather than responding to this direct question to either clarify or correct Zion’s

earlier tweet that, “There is no SEC investigation,” the Individual Defendants caused Zion to

reinforce its original denial. Specifically, in addition to the direct denial of the SEC Investigation,

the Individual Defendants also caused the Company to state in SEC filings that it was not subject

to any ongoing investigations or prosecutions.

       57.     Just two weeks prior, on March 12, 2018, the Individual Defendants caused the

Company to file its 2017 annual report on Form 10-K with the SEC (the “2017 10-K”). The 2017

10-K was signed by defendants Carrillo, Croswell, Brown, Guinn, Avery, van Brauman, Oroian,

Garb, Siegel, Scammahorn, Furnace, and Russell and was certified pursuant to Rule 13a-14(a) and



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15d- 14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) by defendants

Carrillo and Croswell. The 2017 10-K included a blanket disclaimer of any claims, actions, or

proceedings against the Company and failed to mention the SEC Investigation:

       From time to time, the Company may be subject to routine litigation, claims, or
       disputes in the ordinary course of business. The Company defends itself vigorously
       in all such matters. In the opinion of management, no pending or known threatened
       claims, actions or proceedings against the Company are expected to have a material
       adverse effect on its financial position, results of operations or cash flows.
       However, the Company cannot predict with certainty the outcome or effect of any
       such litigation or investigatory matters or any other pending litigation or claims.
       There can be no assurance as to the ultimate outcome of any such lawsuits and
       investigations.

       58.     On April 13, 2018, a report was published by Probes Reporter concerning the SEC

Investigation. Probes Reporter reported that it previously sent a FOIA request to the SEC and

received what it initially thought was a response conflicting with that received by Fuzzy Panda:

       In a letter dated 06-Apr-2018, the SEC gave us a response to suggest the absence
       of recent SEC investigative activity at Zion Oil & Gas, Inc. This new information
       is contrary to a posting made to Twitter on 26-Mar-2018, by someone unknown to
       us [FuzzyPandaShort]. We now have conflicting FOIA responses, on the same
       company, received only weeks apart.

                                        *       *      *

       To us we simply have two conflict data points that require further work. Until that
       work is complete, there remains a cloud of uncertainty regarding the data. We have
       already filed an administrative appeal, the results of which should give us better
       answers. We will follow up when we learn more.

       59.     On May 8, 2018, the Individual Defendants caused the Company to file its quarterly

report for the first quarter of 2018 on Form 10-Q with the SEC. The Form 10-Q was signed and

certified pursuant to SOX by defendants Carrillo and Croswell and featured the same blanket

disclaimer of any claims, actions, or proceedings against the Company and failed to mention the

SEC Investigation.




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       60.     Then, on May 30, 2018, Probes Reporter published a report following up on their

previous concerns of contradictory responses from the SEC regarding an investigation of Zion.

The report revealed that the SEC was in fact investigating Zion, stating in relevant part:

       In a letter dated 06-Apr-2018, the SEC gave us a response to suggest the absence
       of recent SEC investigative activity at Zion Oil & Gas, Inc. With conflicting FOIA
       responses on the same company, received only weeks apart, and the company
       having issued a public denial, we decided it was prudent to publish the data
       provided to us. We did so, on 13-Apr-2018. Now, in an appeal response dated 15-
       May-2018, on-going SEC enforcement proceedings were confirmed at Zion Oil &
       Gas, Inc. This has not been disclosed.

       Our Take: An appeal response is the gold standard when it comes to SEC FOIA
       responses. In this case the appeal confirmed on-going enforcement proceedings.
       The problem for Zion Oil & Gas is they flatly denied it back in March. We’re going
       with the SEC on this one.

       61.     The Probes Reporter’s article clearly notified Zion stockholders and the investing

public that the SEC had confirmed an on-going investigation of Zion. The Probes Reporter article

noted that Zion’s flat denial in March was problematic, however, the Individual Defendants caused

the Company to continue to deny the SEC Investigation.

       62.     For example, on May 31, 2018, the Individual Defendants caused Zion to tweet,

“There is no SEC investigation into Zion Oil & Gas, Inc. The image you might see dated March

20 is a standard reply if you inquire about any company from the SEC. Just ignore such distortions.

$zn”




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           63.    Later that day, the Company also tweeted:




           64.    These tweets directly denied the SEC Investigation which had been confirmed

independently by both Fuzzy Panda and Probes Reporter. The Individual Defendants caused or

allowed the Company to disseminate these tweets with the knowledge that they were false and

misleading.

           65.    On June 11, 2018, defendant Carrillo was quoted in a Financial Times article titled

“Zion Oil Living on a Prayer.” Carrillo continued to deny the existence of the SEC Investigation,

stating:

           We are unaware of any SEC investigation of Zion Oil & Gas and we believe that
           false and malicious rumors are being spread by short-sellers interested in making a
           buck by seeing the stock price drop precipitously.

           66.    The above statements were materially false and/or misleading and failed to disclose

material adverse facts about the Company’s business, operations, and prospects. Specifically, the

Individual Defendants caused the Company to fail to disclose that: (1) they were aware that the

Company was the subject of the SEC Investigation; (2) the Company failed to maintain adequate

internal controls; and (3) as a result of the foregoing, the Company’s statements about Zion’s




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business, operations, and prospects were materially false and/or misleading and/or lacked a

reasonable basis.

D.     The Individual Defendants Cause Zion to Issue a Materially False and Misleading
       Proxy Statement

       67.     In addition to the above false and misleading statements issued and/or caused to be

issued by the Individual Defendants, the Individual Defendants also caused the Company to issue

a false and misleading proxy statement, which sought stockholder votes for, inter alia, director re-

election and the ratification of MaloneBailey as the Company’s independent registered public

accounting firm.

       68.     On April 13, 2018, the Individual Defendants caused the Company to file the 2018

Proxy with the SEC. The 2018 Proxy was disseminated to stockholders in connection with the

Company’s annual stockholder meeting. The Individual Defendants drafted, approved, reviewed,

and/or signed the 2018 Proxy before it was filed with the SEC and disseminated to Zion’s

stockholders. The Individual Defendants knew, or were deliberately reckless in not knowing, that

the 2018 Proxy was likewise materially false and misleading.

       69.     Among other things, the 2018 Proxy provided information about and solicited

stockholder votes for the director nominees up for election, defendants Brown, Garb, Siegel, and

Croswell. In addition, the 2018 Proxy described director responsibilities; the duties of each Board

committee; Board risk assessment and management; and explicitly referenced the Code, which

includes special ethical obligations regarding financial reporting such that all SEC filings are to be

accurate. The 2018 Proxy also sought stockholder ratification of MaloneBailey as the Company’s

independent registered public accounting firm for the year ended December 31, 2018.

       70.     The 2018 Proxy was false and misleading because the Individual Defendants were

aware, but failed to disclose that: (1) they were aware that the Company was the subject of the



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SEC investigation; (2) the Company failed to maintain adequate internal controls; and (3) as a

result of the foregoing, the Company’s statements about Zion’s business, operations, and prospects

were materially false and/or misleading and/or lacked a reasonable basis.

E.     The Truth is Revealed

       71.     The Company continued to deny the SEC Investigation for as long as possible,

even after it was confirmed by two independent sources.

       72.     Finally, on July 11, 2018, the Individual Defendants caused the Company to file a

Form 8-K with the SEC announcing that the SEC Investigation was occurring and that it had

received a subpoena from the SEC to produce documents as part of the SEC’s “non-public, fact-

finding inquiry into the Company.” The Form 8-K stated:

       On Thursday, June 21, 2018, Zion Oil & Gas, Inc. (“Zion” or “Company”) received
       a subpoena to produce documents from the Fort Worth office of the Securities and
       Exchange Commission (“SEC”), informing Zion of the existence of a non-public,
       fact-finding inquiry into the Company. Zion, an SEC-reporting company with
       audited financial statements in the US and Israel for over a decade, will fully
       cooperate with this investigation. Until receipt of the subpoena on June 21, 2018,
       Zion had no previous communication with the SEC on this issue and was unaware
       of this investigation. The SEC stated that “the investigation and the subpoena do
       not mean that we have concluded that [Zion] or anyone else has violated the law.”

       While we acknowledge that our response to the subpoena will necessarily entail
       significant costs and management’s attention, it should have no effect on Zion’s
       ongoing testing procedures on its Megiddo-Jezreel #1 well. The Company does not
       intend to comment further on this matter unless in the Company’s judgment, it
       merits further comment or public disclosure.

       73.     On this news, Zion’s stock price fell $0.44 per share, or 11%, representing a decline

of over $26 million in market capitalization. The Company’s stock price has continued to drop

since it admitted the SEC Investigation was ongoing and as of November 1, 2018, the Company’s

market capitalization had declined over 69%.

       74.     On August 31, 2018, defendant Carrillo resigned as CEO of the Company without

providing an explanation.



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F.     Executives Continue to Reap Benefits Despite Zion’s Precarious Financial State

       75.     On November 8, 2018, the Company filed its quarterly report for the period ended

September 30, 2018 on Form 10-Q with the SEC. In addressing its ability to continue as a going

concern, the Company stated:

       The recoverability of the costs incurred to date is uncertain and dependent upon
       achieving significant commercial production [and] the Company’s ability to
       continue as a going concern is dependent upon obtaining the necessary financing
       to undertake further exploration and development activities and ultimately
       generating profitable operations from its oil and natural gas interests in the future.

                                         *       *       *

       Since we have limited capital resources, no revenue to date and a loss from
       operations, our financial statements have been prepared on a going concern
       basis. . . there is substantial doubt about our ability to continue as a going concern.

       76.     Zion currently has an accumulated deficit approaching $168 million, it incurred a

net loss of approximately $6.7 million during the first three quarters of 2018, and has yet to earn

any revenue from its operations. According to the Form 10-Q, the Company has no economically

recoverable reserves and no amortization base.

       77.     Despite the Company’s lack of revenue and significant deficit, between 2015 and

2017, defendant Brown, in his role as Executive Chairman, received over $1.62 million in

compensation and defendant Carrillo received more than $1.4 million. Between 2016 and 2017,

defendant Guinn received $790,000 and defendant Croswell received $601,618.

                                     DAMAGES TO ZION

       78.     As a result of the Individual Defendants’ wrongful conduct described herein, Zion

disseminated false and misleading statements and omitted material information that would have

rendered the statements neither false nor misleading. The improper statements have devastated

the Company’s credibility. Zion has been, and will continue to be, severely damaged by the

Individual Defendants’ misconduct.



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         79.   Indeed, the Individual Defendants’ false and misleading statements as alleged

herein have subjected Zion to the Securities Class Action pending in the United States District

Court for the Northern District of Texas. The allegations in the Securities Class Actions are

incorporated by reference as if fully set forth herein.

         80.   Due to the Individual Defendants’ false and misleading statements, Zion has and

will continue to incur expenditures associated with, among other things, defending the Securities

Class Action and excessive compensation paid to several of the Individual Defendants.

         81.   As a direct and proximate result of the Individual Defendants’ actions as alleged

herein, Zion’s market capitalization has been substantially damaged, losing millions of dollars in

value.

         82.   Additionally, as a result of the materially misleading 2018 Proxy, defendants

Brown, Garb, Siegel, and Croswell were all elected to new three-year terms as directors. These

Individual Defendants, who caused the damages to the Company described herein, were given

renewed power as a result of their false and misleading statements.

         83.   The Company will also be forced to pay costs associated with responding to the

SEC’s subpoena and complying with the SEC Investigation.

         84.   Moreover, these actions have irreparably damaged Zion’s corporate image and

goodwill. For at least the foreseeable future, Zion will suffer from what is known as the “liar’s

discount,” a term applied to the stocks of companies that have been implicated in illegal behavior

and have misled the investing public, such that Zion’s ability to raise equity capital or debt on

favorable terms in the future is now impaired.

               PLAINTIFFS’ DEMAND AND DERIVATIVE ALLEGATIONS

         85.   Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.


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       86.     Plaintiffs bring this action derivatively in the right and for the benefit of the

Company to redress the Individual Defendants’ breaches of fiduciary duties.

       87.     Plaintiffs currently own Zion common stock and continuously owned Zion

common stock during the Relevant Period.

       88.     Plaintiffs will adequately and fairly represent the interests of the Company and its

stockholders in enforcing and prosecuting its rights.

       89.     As a result of the facts set forth herein, Plaintiffs have not made any demand on the

Zion Board to institute this action against the Individual Defendants. Such a demand would be a

futile and useless act because the Board is incapable of making an independent and disinterested

decision to institute and vigorously prosecute this action.

       90.     At the time this action was commenced, the Board consisted of twelve directors:

defendants Brown, van Brauman, Croswell, Guinn, Avery, Russell, Oroian, Siegel, Garb, and

Scammahorn (the “Director Defendants”), and newly-appointed, non-party directors John T. Seery

and Virginia Prodan. All ten Director Defendants are incapable of making an independent and

disinterested decision to institute and vigorously prosecute this action.

A.     Defendants Brown, van Brauman, Croswell, Guinn, Avery, Russell, Oroian, Siegel,
       Garb, and Scammahorn Each Face a Substantial Likelihood of Liability

       91.     The Director Defendants all face a substantial likelihood of liability for their

individual misconduct. The Director Defendants were directors throughout the time of the false

and misleading statements, and as such had a fiduciary duty to ensure that the Company’s SEC

filings, press releases, and other public statements and presentations on behalf of the Company

concerning its business, operations, prospects, internal controls, and financial statements were

accurate.




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       92.     Moreover, the Director Defendants, as directors, owed a duty to, in good faith and

with due diligence, exercise reasonable inquiry, oversight, and supervision to ensure that the

Company’s internal controls were sufficiently robust and effective (and were being implemented

effectively), and to ensure that the Board’s duties were being discharged in good faith and with

the required diligence and due care.       Instead, they knowingly and consciously reviewed,

authorized, and/or caused the publication of the materially false and misleading statements

discussed above that caused the Company’s stock to trade at artificially-inflated prices.

       93.     The Director Defendants knowingly made or authorized false and misleading

statements, failed to timely correct such statements, failed to take necessary and appropriate steps

to ensure that the Company’s internal controls were sufficiently robust and effective (and were

being implemented effectively), and failed to take necessary and appropriate steps to ensure that

the Board’s duties were being discharged in good faith and with the required diligence. The

Director Defendants also signed the materially false and misleading 2017 10-K. These actions

constitute breaches of the fiduciary duties of loyalty and good faith for which the Director

Defendants face a substantial likelihood of liability. If the Director Defendants were to bring a

suit on behalf of Zion to recover damages sustained as a result of this misconduct, they would

expose themselves to significant liability. This is something they will not do. For this reason,

demand is futile as to the Director Defendants.




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B.       Defendant Croswell Lacks Independence and is Not Disinterested

         94.   As an initial matter, Zion has conceded in its SEC filings that Croswell is not an

independent director of the Company. The 2018 Proxy states that Croswell is not independent

under the applicable SEC rules and regulations and the Nasdaq Stock Market listing requirements

and rules.

         95.   In addition to this lack of independence, Croswell is not disinterested for purposes

of demand futility because his principal occupation is CFO and director of Zion. According to the

Company’s SEC filings, in 2017, Croswell received total compensation of $364,749. This amount

is material to him. Croswell also holds Zion stock that was worth $1.9 million prior to the stock

drop and had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s

value. Further, he was reelected to the Board based on the false and misleading 2018 Proxy.

Croswell is incapable of considering a demand to commence and vigorously prosecute this action

because he faces additional substantial likelihood of liability as he is a named defendant in the

Securities Class Action.

         96.   For these reasons, demand upon defendant Croswell is futile.

C.       Defendant Brown Lacks Independence and is Not Disinterested

         97.   As an initial matter, Zion has conceded in its SEC filings that Brown is not an

independent director of the Company. The 2018 Proxy states that Brown is not independent under

the applicable SEC rules and regulations and the Nasdaq Stock Market listing requirements and

rules.

         98.   In addition to this lack of independence, Brown is not disinterested for purposes of

demand futility because his principal occupation is Chairman of the Board. According to the

Company’s SEC filings, in 2017, Brown received total compensation of $632,419. This amount

is material to him. Brown also holds Zion stock that was worth over $5 million prior to the stock


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drop and had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s

value. Further, he was reelected to the Board based on the false and misleading 2018 Proxy.

       99.     Most importantly, Zion’s entire corporate strategy is based on Brown’s Vision of

bible passages telling him where to drill for oil and/or natural gas. Following this Vision, Zion

has yet to earn any revenue from oil in its eighteen years of existence. As the figurehead behind

the Company, demand upon defendant Brown is futile.

D.     Defendant Guinn Lacks Independence and is Not Disinterested

       100.    Like Croswell, Guinn is also a Zion executive in addition to serving as a director.

Guinn has been Executive Vice Chairman since July 2016, and President and COO since

September 2016. He also became CEO on August 31, 2018, after Carrillo’s resignation. He was

chosen as the replacement by Brown, who penned an email stating, “God has chosen Zion’s New

CEO.” For this reason, Guinn is indebted to Brown and could not disinterestedly consider a

demand upon him or any one else who was placed on the Board as part of Brown’s Vision.

       101.    Additionally, Zion has conceded in its SEC filings that Guinn is not an independent

director of the Company. The 2018 Proxy states that Guinn is not independent under the applicable

SEC rules and regulations and the Nasdaq Stock Market listing requirements and rules.

       102.    Prior to the stock drop, Guinn owned over $1.5 million worth of Zion common

stock and had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s

value. According to the Company’s SEC filings, in 2017, Guinn received total compensation of

$465,647. This amount is material to him.

       103.    For these reasons, demand upon defendant Guinn is futile.

E.     Defendant van Brauman Lacks Independence and is Not Disinterested

       104.    Like Croswell and Guinn, van Brauman is also a Zion executive in addition to being

serving as a director. He has been the Corporate Secretary and Treasurer since January 2012 and


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Senior Vice President since June 2013. Zion has conceded in its SEC filings that van Brauman is

not an independent director of the Company. The 2018 Proxy states that van Brauman is not

independent under the applicable SEC rules and regulations and the Nasdaq Stock Market listing

requirements and rules.

         105.   van Brauman received $3921,375 in total compensation from Zion in 2017. This

amount is material to him. He also owned stock that was worth over $1.9 million prior to the stock

drop and had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s

value.

         106.   For these reasons, demand upon defendant van Brauman is futile.

F.       Defendant Avery Lacks Independence and is Not Disinterested

         107.   Like defendants Croswell, Brown, Guinn, and van Brauman, defendant Avery is

paid by the Company for services in addition to serving as a director, compromising his

independence. Avery has been retained by the Company as General Counsel since December

2012. For his services, he received $323,687 in total compensation from the Company in 2017.

This amount is material to him.

         108.   Avery also owned stock that was worth over $3 million prior to the stock drop and

had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s value.

         109.   For these reasons, demand upon defendant Avery is futile.

G.       Defendant Russell Lacks Independence and is Not Disinterested

         110.   Like defendants Croswell, Brown, Guinn, van Brauman, and Avery, defendant

Russell is paid by the Company for services in addition to serving as a director, compromising his

independence. Russell has been an independent Geoscience Consultant for Zion since August

2012, far longer than he has been a member of the Board. For his services, he received $253,638

in total compensation from the Company in 2017. This amount is material to him.


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         111.   Russell also owned stock that was worth over $1.3 million prior to the stock drop

and had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s value.

         112.   For these reasons, demand upon defendant Russell is futile.

H.       Defendant Siegel Lacks Independence and is Not Disinterested

         113.   Defendant Siegel has an extensive history with the Company. Siegel was Zion’s

CFO and COO from July 9, 2010 until March 31, 2011. Siegel served as a director of the Company

from November 2003 until March 31, 2011, and again from December 2012 through the present.

         114.   As a director almost since the Company’s inception and a former officer of Zion,

upon information and belief, Siegel has close relationships with the other members of the Board,

as well as the Company’s executives. He is thus incapable of independently and fairly considering

a demand for litigation against them.

         115.   For this reason, demand upon defendant Siegel is futile.

I.       Defendants Garb, Siegel, Oroian, and Scammahorn Are Not Disinterested Due to
         Large Holdings of Zion Stock

         116.   Defendant Garb owned stock that was worth over $1.3 million prior to the stock

drop and had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s

value.

         117.   Defendant Siegel owned stock that was worth over $1.2 million prior to the stock

drop and had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s

value.

         118.   Defendant Oroian owned stock that was worth over $1.4 million prior to the stock

drop and had an interest in keeping the SEC Investigation a secret to attempt to inflate that stock’s

value.




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         119.    Defendant Scammahorn owned stock that was worth over $1.1 million prior to the

stock drop and had an interest in keeping the SEC Investigation a secret to attempt to inflate that

stock’s value.

         120.    For these reasons, demand upon defendants Garb, Siegel, Oroian, and Scammahorn

is futile.

J.       Defendants Siegel, Oroian, and Scammahorn Face a Substantial Likelihood of
         Liability as Members of the Audit Committee

         121.    Defendants Siegel, Oroian, and Scammahorn, as members of the Audit Committee

during the Relevant Period, participated in and knowingly approved the filing of false financial

statements and repeated false and misleading statements to the investing public. More specifically,

as members of the Audit Committee, Siegel, Oroian, and Scammahorn were obligated to review

the Company’s annual and quarterly reports to ensure their accuracy. Instead, Siegel, Oroian, and

Scammahorn failed to ensure the integrity of the Company’s financial statements and financial

reporting process, the Company’s systems of internal accounting and financial controls, and other

financial information provided by the Company, as required by the Code. For this reason, demand

is futile as to Siegel, Oroian, and Scammahorn.

K.       Defendants Garb and Siegel Face a Substantial Likelihood of Liability as Members
         of the Compensation Committee

         122.    Defendants Garb and Siegel, as members of the Compensation Committee during

the Relevant Period, participated and knowingly approved the unjust enrichment of the Individual

Defendants. More specifically, as members of the Compensation Committee, Garb and Siegel

were obligated to discharge the Board’s responsibilities relating to compensation of the

Company’s executive officers and directors. During the Relevant Period, Garb and Siegel awarded

inflated incentive-based compensation to the Individual Defendants based on the inflated share

price of Zion. Because Garb and Siegel breached their fiduciary duties, there is a high likelihood


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that they will be held personally liable in any action brought on behalf of the Company. For this

reason, demand is futile as to Garb and Siegel.

L.     The Director Defendants are Not Independent

       123.    In addition to the reasons stated above, none of the Director Defendants are

independent due to their connection to defendant Brown. Zion was founded and has always been

run in accordance with defendant Brown’s Vision of finding oil in Israel based on bible passages.

Each of the Director Defendants supports Brown in his Vision above all else and cannot

disinterestedly consider a demand against Brown or any of each other.

M.     The Director Defendants are Not Disinterested

       124.    If Zion’s current officers and directors are protected against personal liability for

their breaches of fiduciary duties alleged in this complaint by Directors & Officers Liability

Insurance (“D&O Insurance”), they caused the Company to purchase that insurance for their

protection with corporate funds, i.e., monies belonging to the stockholders. However, Plaintiffs

are informed and believe that the D&O Insurance policies covering the Individual Defendants in

this case contain provisions that eliminate coverage for any action brought directly by Zion against

the Individual Defendants, known as the “insured versus insured exclusion.”

       125.    As a result, if the Director Defendants were to sue themselves or certain of the

officers of Zion, there would be no D&O Insurance protection, and thus, this is a further reason

why they will not bring such a suit. On the other hand, if the suit is brought derivatively, as this

action is brought, such insurance coverage exists and will provide a basis for the Company to

effectuate recovery. Therefore, the Director Defendants cannot be expected to file the claims

asserted in this derivative lawsuit because such claims would not be covered under the Company’s

D&O Insurance policy.




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        126.    Under the factual circumstances described herein, the Director Defendants are more

interested in protecting themselves than they are in protecting Zion by prosecuting this action.

Therefore, demand on Zion and its Board is futile and is excused. Zion has been and will continue

to be exposed to significant losses due to the Individual Defendants’ wrongdoing. Yet, the Director

Defendants have not filed any lawsuits against themselves or others who were responsible for the

wrongful conduct. Thus, the Director Defendants are breaching their fiduciary duties to the

Company and face a sufficiently substantial likelihood of liability for their breaches, rendering any

demand upon them futile.

                                            COUNT I

                                   Breach of Fiduciary Duty
                              (Against the Individual Defendants)

        127.    Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if

fully set forth herein.

        128.    The Individual Defendants owed and owe Zion fiduciary obligations. By reason of

their fiduciary relationships, the Individual Defendants owed and owe Zion the highest obligation

of loyalty, good faith, due care, oversight, and candor.

        129.    All of the Individual Defendants violated and breached their fiduciary duties of

loyalty, good faith, due care, oversight, and candor.

        130.    Each of the Individual Defendants had actual or constructive knowledge of and

caused the Company to fail to disclose that: (1) the Individual Defendants were aware that the

Company was the subject of the SEC Investigation; (2) the Company failed to maintain adequate

internal controls; and (3) as a result of the foregoing, the Company’s statements about Zion’s

business, operations, and prospects were materially false and/or misleading and/or lacked a

reasonable basis. These actions caused severe risks to the Company’s financial viability and have




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caused harm to the Company by subjecting it to the Securities Class Action. The Individual

Defendants’ actions (and inactions) could not have been a good faith exercise of prudent business

judgment to protect and promote the Company’s corporate interests.

        131.    The Individual Defendants consciously caused or allowed Zion to lack requisite

internal controls, and, as a result, the Company regularly made false and misleading statements.

        132.    The Individual Defendants consciously failed to supervise, to exert internal controls

over, and consciously disregarded their responsibilities involving the Company.

        133.    As a direct and proximate result of the Individual Defendants’ conscious failure to

perform their fiduciary obligations, Zion has sustained significant damages. As a result of the

misconduct alleged herein, the Individual Defendants are liable to the Company. The Individual

Defendants breached their fiduciary duties owed to Zion and its stockholders by willfully,

consciously, and/or intentionally failing to perform their fiduciary duties. They caused the

Company to waste valuable assets and unnecessarily expend corporate funds. They also failed to

properly oversee Zion’s business, rendering them personally liable to the Company.

                                            COUNT II

                                     For Unjust Enrichment
                               (Against the Individual Defendants)

        134.    Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if

fully set forth herein.

        135.    By their wrongful acts, violations of law, and misleading statements and omissions

of material fact that they made and/or caused to be made, the Individual Defendants were unjustly

enriched at the expense and to the detriment of Zion.




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       136.     The Individual Defendants received incentive-based compensation from Zion that

was tied to the performance or artificially-inflated valuation of Zion and/or received compensation

that was unjust in light of their bad faith conduct.

       137.     To remedy the Individual Defendants’ unjust enrichment, the Court should order

them to disgorge to the Company all proceeds, including from insider transactions, excessive

compensation, including any performance-based or valuation-based compensation, obtained by

the Individual Defendants due to their wrongful conduct and breach of their fiduciary and

contractual duties.

       138.     Plaintiffs, on behalf of Zion, have no adequate remedy at law.

                                            COUNT III

              Violations of Section 14(a) of the Exchange Act and SEC Rule 14a-9
                              (Against the Individual Defendants)

       139.     Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

       140.     The Section 14(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the Individual Defendants. The Section 14(a) Exchange Act claims alleged herein do not allege

and do not sound in fraud. Plaintiffs specifically disclaim any allegations of, reliance upon any

allegation of, or reference to any allegation of fraud, scienter, or recklessness with regard to these

proxy law claims.

       141.     Rule 14a-9, promulgated pursuant to Section 14(a) of the Exchange Act, provides

that no proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or




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which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       142.    The 2018 Proxy violated Section 14(a) and Rule 14a-9 because it solicited Zion

stockholder votes for, inter alia, director re-election and ratification of MaloneBailey as the

Company’s independent public accounting firm, while simultaneously misrepresenting and/or

failing to disclose the existence of the SEC Investigation.

       143.    As alleged herein, in the 2018 Proxy, the Individual Defendants specifically

referenced the Code, which includes special ethical obligations regarding financial reporting such

that all SEC filings are to be accurate. Because the Company, under the Individual Defendants’

direction and on their watch, was issuing false and misleading statements, the Individual

Defendants affirmatively violated the Code. The Proxy failed to disclose that express terms of the

Code were being violated.

       144.    The Individual Defendants caused the Company to make untrue statements of

material facts and omit material facts necessary to make the issued statements not misleading in

violation of Section 14(a) and Rule 14a-9. By virtue of their positions within the Company and/or

roles in the process and in the preparation of the 2018 Proxy, the Individual Defendants were aware

of this information and of their duty to disclose this information in the 2018 Proxy.

       145.    The Individual Defendants knew, or were negligent in not knowing, that the

statements contained in the 2018 Proxy were materially false and misleading.

       146.    The omissions and false and misleading statements in the 2018 Proxy are material

in that a reasonable stockholder would consider them important in deciding how to vote on the re-

election of directors and the ratification of the Company’s auditor. In addition, a reasonable

investor would view a full and accurate disclosure as significantly altering the “total mix” of




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information made available in the 2018 Proxy and in other information reasonably available to

stockholders.

       147.     As a direct and proximate result of the dissemination of the false and/or misleading

2018 Proxy the Individual Defendants used to obtain stockholder approval of and thereby re-elect

directors and ratify MaloneBailey, Zion suffered damage and actual economic losses (i.e.,

wrongful re-election of directors) in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment as follows:

       A.       Declaring that Plaintiffs may maintain this derivative action on behalf of Zion and

that Plaintiffs are adequate representatives of the Company;

       B.       Awarding the amount of damages sustained by the Company as a result of the

Individual Defendants’ breaches of fiduciary duties and violations of the federal securities laws;

       C.       Ordering the Individual Defendants to disgorge the profits obtained as a result of

their unjust enrichment as described herein;

       D.       Granting appropriate equitable relief to remedy the Individual Defendants’

breaches of fiduciary duties and other violations of law;

       E.       Awarding to Plaintiffs the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, and costs and expenses; and

       F.       Granting such other and further relief as the Court deems just and proper.




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                               JURY TRIAL DEMANDED

     Plaintiffs hereby demand a trial by jury.

Dated: November 21, 2018                          RIGRODSKY & LONG, P.A.

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